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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     MARC SILVER, et al.,                               Case No. 20-cv-00633-SI
                                   8                    Plaintiffs,
                                                                                            ORDER CONTINUING DEFENDANT’S
                                   9              v.                                        MOTION FOR SUMMARY
                                                                                            JUDGMENT TO DECEMBER 17 AND
                                  10     BA SPORTS NUTRITION, LLC,                          SETTING SCHEDULE FOR LIMITED
                                                                                            FURTHER BRIEFING
                                  11                    Defendant.
                                                                                            Re: Dkt. No. 139
                                  12
Northern District of California
 United States District Court




                                  13
                                              Defendant’s motion for summary judgment is scheduled for a hearing on November 4.
                                  14
                                       Plaintiffs’ opposition states, inter alia, that they require certain outstanding discovery in order to
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                                       fully oppose the motion.
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                                              The Court has conferred with the Special Master regarding the status of discovery. Based
                                  17
                                       upon his input, the Court CONTINUES the summary judgment motion to December 17, 2021 at
                                  18
                                       10:00 am. The Court will permit plaintiffs to file a supplemental opposition of no more than 10
                                  19
                                       pages addressing the forthcoming discovery as it relates to defendant’s motion by December 3 at
                                  20
                                       5:00 pm, and defendant may file a supplemental reply of no more than 10 pages by December 8 at
                                  21
                                       5:00 pm.
                                  22

                                  23
                                              IT IS SO ORDERED.
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                                  25   Dated: October 28, 2021                       ______________________________________
                                                                                       SUSAN ILLSTON
                                  26
                                                                                       United States District Judge
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